 Case: 4:19-cv-00790-RLW Doc. #: 12 Filed: 04/26/19 Page: 1 of 4 PageID #: 189



                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION


MOLLY BECKER,                                )
                                             )
                        Plaintiff,           )
                                             )
        v.                                   )       No. 4:19-cv-00790-RLW
                                             )
WALMART INC.,                                )
                                             )
                        Defendant.           )
                                             )

              CONSENT MOTION FOR EXTENSION OF TIME
     TO FILE PLAINTIFF MOLLY BECKER’S RESPONSE TO PLAINTIFF-
                  INTERVENOR ASHLEY MISTLER’S
 MOTION TO INTERVENE AND TO DISMISS, STAY OR TRANSFER THIS ACTION

        Plaintiff Molly Becker (“Plaintiff”), by and through her counsel, and with the consent of

Defendant Walmart Inc. (“Defendant”), hereby moves the Court, pursuant to Federal Rule of

Civil Procedure 6(b) and Local Rule 7-4.01, to extend the deadline of Plaintiff to respond to

Plaintiff-Intervenor Ashley Mistler’s Motion to Intervene and to Dismiss, Stay or Transfer this

Action (“Motion to Intervene”), through and including May 3, 2019. In support of the Motion,

Plaintiff states as follows:

        1.      On February 19, 2019, Plaintiff filed her complaint in the Circuit Court of Phelps

County, Missouri.

        2.      On March 29, 2019, Defendant filed a Notice of Removal to this Court.

        3.      Prior to filing the complaint, Plaintiff had a good faith basis to believe the

Egyptian-labeled cotton at issue in the complaint was not manufactured by Welspun. The parties

are seeking to confirm whether the cotton is in fact manufactured by Welspun. Since Welspun is




                                                 1
 Case: 4:19-cv-00790-RLW Doc. #: 12 Filed: 04/26/19 Page: 2 of 4 PageID #: 190



already subject to a relatively advanced litigation in Southern District of New York, Plaintiff

does not seek to pursue a redundant case.

       4.      If the cotton at issue in this case is manufactured by Welspun, Plaintiff will

promptly dismiss the action. Plaintiff anticipates an answer this week.

       5.      An attorney for Bursor & Fisher, P.A. (“Bursor”) contacted counsel for Plaintiff

the first week of April 2019 to inquire about the status of this case. Bursor is lead plaintiff

counsel for the Welspun litigation in New York. Bursor was informed of the above-described

discussion regarding Welspun. Bursor communicated to Plaintiff’s counsel that it believed the

cotton was indeed Welspun. Plaintiff indicated that it would dismiss if that fact can be

substantiated. Plaintiff and Bursor agreed to continue to communicate regarding developments.

       6.      Without any further contact with Plaintiff, on late Friday afternoon April 19,

2019, Bursor filed a Motion to Intervene. See Dkt. Nos. 8, 9, 10, and 11.

       7.      Pursuant to Local Rule 7-4.01, Plaintiff’s opposing suggestions to the Motion to

Intervene are currently due today, April 26, 2019.

       8.      Plaintiff’s counsel believes that in the next week the Motion to Intervene may be

moot as the complaint will be dismissed if the cotton is manufactured by Welspun. Plaintiff’s

counsel has been engaged in discussions with all parties regarding this fact. As of the time of

this extension, Bursor has refused to withdraw its Motion to Intervene.

       9.      Accordingly, Plaintiff seeks a seven (7) day extension of time in order to conserve

judicial resources and resolve the Motion to Intervene, and quite possibly the case itself.

       10.     Defendant Walmart Inc. consents to the extension sought herein and takes no

position on any other factual representations.




                                                 2
 Case: 4:19-cv-00790-RLW Doc. #: 12 Filed: 04/26/19 Page: 3 of 4 PageID #: 191



       11.     The enlargement of time is requested for good cause and will not result in undue

delay in the administration of this case.

       WHEREFORE, Plaintiff Molly Becker respectfully requests that the Court extend the

deadline for Plaintiff to file her response to the Motion to Intervene and to Dismiss, Stay or

Transfer this Action, through and including May 3, 2019.



Dated: April 26, 2019                        STEELMAN & GAUNT

                                       By:   /s/ Stephen F. Gaunt
                                             Stephen F. Gaunt, #33183MO
                                             sgaunt@steelmanandgaunt.com
                                             David L. Steelman, #27334MO
                                             dsteelman@steelmanandgaunt.com
                                             901 Pine Street, Suite 110
                                             Rolla, MO 65401
                                             Tel: (573) 341-8336
                                             Fax: (573) 341-8548




                                               3
 Case: 4:19-cv-00790-RLW Doc. #: 12 Filed: 04/26/19 Page: 4 of 4 PageID #: 192



                                   CERTIFICATE OF SERVICE

          I hereby certify that on April 26, 2019, I electronically filed the foregoing with the clerk

of the court by using the CM/ECF system, which will send notice of filing to all counsel of

record.



                                                        /s/ Stephen F. Gaunt




                                                   4
